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AFFIDAVIT OF JAMES G. UNDERHILL, Psy.D.

I, James G. Underhill, state and declare as follows:
A. Introduction

I. At the request of the Office of Capital Writs (“OCW”), previous counsel for
Teddrick Batiste, I conducted a comprehensive neuropsychological evaluation
of Mr. Batiste at the Polunsky Unit in Livingston, Texas on January 5 and
January 6, 2012. The purpose of the neuropsychological testing was to
determine whether measureable neuropsychological dysfunction or deficits
were present and, if so, the nature, extent, and effects of those impairments on
Mr. Batiste’s behavioral, psychological, and cognitive functioning.

2. Based upon my review of the historical data, and the neuropsychological
testing and clinical interview I conducted, I provided the courts with an
affidavit indicating I was willing to testify regarding neuropsychological
findings and the impact thereof if called.

3. It was my understanding at the time, that I would be called to testify at a later
date.

4. I was contacted by Kenneth McGuire, counsel for Mr. Batiste. I was informed
that the state appellate court had indicated that my affidavit was not persuasive.
It is my understanding that the states findings of fact indicate that the basis of
this determination was predicated upon the lack of stated scores in my
affidavit, and jail records indicating controlled behavior in a correctional
setting.

5. On August 4, 2017, Mr. McGuire provided the State’s Proposed Finding of
Fact, Conclusions of Law, and Order to me. Mr. McGuire requested I review
the document, and submit my opinions about this document to the court.

B. Opinions

 
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Circumstances of Affidavit Preparation

6. When the original affidavit was submitted to the court, it was my
understanding that I would be called to testify at a later date.
7. I expected to be able to explain all of these scientific details during my

testimony in open court.

Key Errors in the State’s Proposed Finding of Fact, Conclusions of Law, and

Order Regarding Statistics

8. The State’s Proposed Finding of Fact, Conclusions of Law, and Order, seems
to rely upon incorrect assumptions regarding psychological testing,
neuropsychology terms of art, and statistics.

9. Because psychological testing scores, neuropsychology terms of art, and the
underlying statistics required to interpret those scores are difficult to
understand without the requisite education, such professional organizations as
the American Psychological Association, the American Educational Research
Association, and the National Council on Measurement in Education have
published guidelines indicating the minimal standards necessary to interpret
psychological data.

10.Test publishers adhere to the same standards and will not sell these tests to
unqualified people.

11.In neuropsychological testing, the word “impaired” is a term of art with
specific connotations. The Heaton taxonomy of neuropsychological scores is
arguably the most widely used manner of describing test scores in

neuropsychology. I used this taxonomy in preparing my Affidavit submitted

 
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to the state courts. In this taxonomy, the term impaired refers to any score
under the 12" percentile. !

12.There is professional literature in neuropsychology which indicates that
percentiles should not be used in forensic contexts because percentiles are
easily misunderstood. * I prepared the document with the understanding that I
would have the opportunity to explain the scores, and with the understanding
that the courts did not have the necessary background to interpret
psychological test scores. I specifically did not report percentiles because they
are known to be misleading in the forensic context, which is exactly the error
made by the State court in their criticism of my findings.

13.In the State’s Proposed Finding of Fact, Conclusions of Law, and Order, the
trier of fact attempts to interpret these finding without the assistance of
someone trained in psychological testing and statistics.

14.The State’s Proposed Finding of Fact, Conclusions of Law, and Order, relies
upon what a term could mean, when it should have relied upon what the term
in fact means and what my findings in fact were.

15.That Mr. Batiste scored within the impaired range means within the
neuropsychology field that he did not score within the 49" percentile.

16.In actuality, Mr. Batiste’s net score on the lowa Gambling Test fell within the
7" percentile. Under the Heaton taxonomy, there are five degrees of
impairment. This score would fall under the severely impaired range. Any
standardized test has the potential for minor variation due to external factors if

the test is repeated. Professionally, there are standardized methods for

 

*,R.K. Heaton, S.W. Miller, M.J. Taylor, I. Grant (2004). Revised comprehensive norms for an expanded Halstead—

Reitan battery (norms, manual and computer program) Psychological Assessment Resources, Odessa, FL
? Bowman, M. L. (2002). The perfidy of percentiles. Arch Clin Neuropsychol, 17(3), 295-303.

 
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reporting these variations. Keeping this in mind, I chose to report the scoré in

the most conservative term possible.

C. Conclusions
It is my opinion, that the court relied upon suppositions which were not
consistent with the professional standards required to interpret
neuropsychological data. These misconceptions could have easily been

addressed in open court.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746, that the

foregoing is true and correct to the best of my knowledge and that this affidavit

was executed on the 77 day of Lsped , 2017 in Austin, Texas.
bh. #Ylkdd 2p

p* JAMES UNDERHHL

 
